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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN

    UNITED STATES OF AMERICA

                  Plaintiff,                     Criminal No. 19-cr-20026

                                                 HON. GERSHWIN A. DRAIN
    v.

    D-3 PHANIDEEP KARNATI,


              Defendant.
    _____________________________________________________________

     DEFENDANT’S SENTENCING MEMORANDUM IN SUPPORT OF
    DOWNWARD VARIANCE FROM ADVISORY GUIDELINE RANGE
    _____________________________________________________________

                           I.   Introduction and Background

         On September 26, 2019, Phanideep Karnati plead guilty to a single count

    Indictment charging Conspiracy to Commit Visa Fraud and Harbor Aliens

    for Profit, in violation of 18 U.S.C. § 371. There was no Rule 11 agreement.

    The Probation Department calculated Mr. Karnati’s guideline range to be 24

    to 30 months. The parties stipulated the sum of $11,700 represents the total

    amount of forfeitable proceeds obtained as a result of this matter, based on

    39 students who enrolled in Farmington University, for which Mr. Karnati

    was paid $300 per student. See Stipulated Preliminary Order of Forfeiture,

    ECF No. 126, filed 12/6/19.



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       Mr. Karnati immigrated to the United States on January 10, 2011, on an

    H-1B visa (a highly skilled work visa).         He was never enrolled in

    Farmington University (FU), nor was his immigration status ever dependent

    on being a student there. Regardless of what sentence the court imposes,

    Mr. Karnati’s wife and two minor children must leave the United States.

    That is because Mrs. Karnati and their 9-year-old son carry H-4 visas, which

    are issued to dependents of an H-1B visa holder. Mr. Karnati anticipates

    non-renewal of his H-1B visa in the next sixty days. Once Mr. Karnati’s visa

    expires or becomes revoked, so will his wife and eldest son’s. Mr. Karnati’s

    3-year-old son is an American citizen.      For the following reasons, Mr.

    Karnati hereby requests a downward variance from the advisory guideline

    range, and the imposition of a sentence of time served.

                         II.   Circumstances of the Offense:

           Karnati was an outlier in this offense and is substantially less
                        culpable than his co-defendants.

       Unlike his co-defendants who were maintaining their immigration status

    through FU, Karnati has been lawfully present in the United States for the

    past nine years. Karnati was employed full-time in the field information

    technology, and supplemented his income by aiding students from India in

    applying to legitimate universities in the United States.          See PSIR,

    Paragraph 49. Specifically, the interested student would contact Karnati,

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    they would discuss which universities would be the right fit, the student

    would complete the application and send it to Karnati, and Karnati would

    then forward the application onto the university. This is a legitimate service

    available to international students, and it is important to note Karnati

    declared this extra income on his 2018 tax return. See PSIR, Paragraph 87.

         Karnati made his first contact with Santosh Sama over the telephone in

    approximately fall 2017, after which he added FU to the handful of schools

    to which he referred international students. The discovery in this case is

    replete with online correspondence between Karnati and respective students

    that show he was collecting applications for various universities, not only

    FU. Examples of this correspondence appear below:1

                                   • November 2, 2017

    Preshanna Soudararaj (No. 1 on Karnati student list) contacts Karnati and
    tells him, “Applying for Campbellsville and other universities … Pls
    forward the details of the Farmington and Ottawa universities.”

                                   • November 3, 2017

    Shashank Pokala (No. 4 on Karnati student list) contacts Karnati regarding
    university application and Karnati answers, “For Campbellsville?” Student
    responds, “Farmington University.”




    1
        See Exhibit A for original correspondence (provided in discovery).


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                                 • November 20, 2017

    Shivabharath Krishna Kamutam (No. 30 on Karnati student list) tells
    Karnati, “Need ur help for univ admission … Pls guide me.” Karnati sends
    student information about both Campbellsville and Farmington.

                                 • December 16, 2017

    Tejaswi Panuganti (No. 19 on Karnati student list) asks Karnati for an
    update “on the admission for Campbellsville and Farmington Universities.”
    Karnati answers, “Farmington u will get Monday … I will check on
    Campbellsville.”

    Hence, Karnati was hardly the mastermind behind a scheme to send

    international students to a fake university.     He was already referring

    international students to American universities when (unfortunately for him)

    he decided to add FU to that list. This is a stark contrast to the conduct of

    the other co-defendants in this matter.

       Moreover, as stated in his guilty plea colloquy, Karnati believed FU

    offered online coursework. See Guilty Plea Colloquy, ECF No. 121, filed

    11/07/19 (Exhibit B). Conversations between Karnati’s students and FU that

    were recorded and provided in discovery reveal these students believed FU

    offered online coursework.

                                   • January 4, 2018

    Tejaswani Panuganti (No. 19 on Karnati student list) calls FU to ask when
    classes begin.

          FU: We are currently full. We don’t have any classes to offer you,
    not even online … what we can do for you to help you maintain your status,

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    we can enroll you as if you are a student here … but you wouldn’t be coming
    to class nor taking any online classes …

          Student: But they didn’t tell me about all this? Because I am
    supposed to enroll … in order to maintain my status … Why was I not told
    about this?

          FU: I have no idea …

                                  • February 5, 2018

    Satish Kamaraj (No. 34 on Karnati student list) calls FU to ask when classes
    begin.

          Student: Is there any chance to get me to know about my class
    schedule?

          FU: Can we do what?

          Student: My classes, when it’s going to start do you know? You have
    any idea?

          FU: Can you forward me the email that you got from [Phanideep]?

          Student: Yes I will try to do that.

          FU: You will try or you will?

         Student: I will try I mean right now I am driving so when I get a
    chance I will email you.

          FU: [Phanideep] was supposed to explain to you that we are
    completely full. We don’t have any normal classes to put you in … you
    won’t be going to any classes, are you aware of this?

          Student: I am going to take online classes.

          FU: No … we don’t have any online classes to offer you.




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          Student: I don’t know that one actually … let me think that now I
    don’t know what to do now.

           FU: And sir you are not driving right now so I mean I clearly can tell
    so if you want to send me that email that would be great … Is this something
    that you want?

         Student: I need to talk to [Phanideep] … I don’t know how the things
    happened.


    Because Karnati admitted in the guilty plea colloquy that he eventually

    learned student visas could not be maintained solely through online

    coursework, this does not exculpate him from the crime charged. See Guilty

    Plea Colloquy, ECF No. 121, filed 11/07/19 (Exhibit B). However, the

    circumstances of his participation in the underlying conspiracy merit

    distinction from his co-defendants. See PSIR, Paragraph 87.

          In total, 39 students who communicated with Karnati over a four

    month period -- from December 2017 through March 2018 – enrolled in FU.

    However, even after Karnati stopped referring students to FU, he still

    maintained contact with Sama, and on June 8, 2018, Karnati and Sama

    attended a meeting at FU.      This was Karnati’s first trip to Michigan.2

    During the meeting, undercover agent Ali Milani acknowledges FU was

    2
          This meeting was recorded and provided in discovery. Defense
    Counsel was unable to obtain an official transcription of this meeting due to
    the heavy accents of the participants. See Exhibit C (Statement from Court
    Reporters).


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    getting calls from Karnati’s students “asking about classes.” Milani tells

    Karnati, “at this point the campus has no room … our numbers are pretty

    high right now, like faculty to student ratio is very high.” Karnati then tells

    Milani, “if you have any future plans of fortifying the university to the next

    level, then I [could] help.” The following exchange then occurs:


    [10:20]       Karnati asks Milani, “how long this university is there?”

    Milani answers, “We started back up 4-5 years ago … we were just doing …
    online to citizens.”

    [10:23]      Karnati asks, “the citizens, online classes they are all going
    on still?”

    Milani answers, “Ya, ya, ya of course, of course.” (emphasis added)

    Karnati says, “We can plan something like that [in Kentucky].”

    Milani responds, “Definitely … look how the University of Phoenix works …
    they started with one region [doing] online classes and now [its]
    everywhere.”


    Based on the foregoing, it is apparent Karnati believed FU offered online

    courses, and that it was going to expand its scope. This is a very different

    posture than Karnati’s co-defendants, who were actually enrolled in FU and

    had direct knowledge of what it did and did not offer.3


    3
          It is during this meeting that Karnati provides an excel spreadsheet
    containing his list of students to Milani. Milani asks his assistant to cross
    check this list (which contains 74 students) with FU records. Milani’s

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          As discussed above, Karnati stopped referring students to FU three

    months before this meeting took place, and he did not refer any student to

    FU after this meeting. But (unfortunately for him) he still believed FU was

    accredited and wanted to be part of “fortifying” the university. Toward this

    end, Milani called Karnati on December 8, 2018 (this was the one and only

    telephone conversation Karnati had with Milani).        During the recorded

    conversation, Milani tells Karnati, “we have investors and we are trying to

    expand to California and other states.” See Exhibit E (Unofficial Transcript

    of Conversation). This was the reason Karnati returned to FU for a second

    meeting on January 30, 2019 (wherein he was subsequently arrested).

          Blind-sided by his arrest at Detroit Metro Airport, Karnati

    immediately cooperated. During his post-arrest interview, Karnati naively

    explains to officers that FU offers easy online classes, perfect for

    housewives and working professionals. In fact, Karnati even explains he

    wanted to enroll his wife in FU.

          Detective: So are – is it online?

          Karnati: It is online, yeah.

    assistant returns to the meeting with the list and confirms that, of the 74
    students Karnati had corresponded with, only 39 actually enrolled in
    Farmington University. See Exhibit D (Karnati student list). These 39
    students formed the basis of the Stipulated Preliminary Order of Forfeiture.
    See ECF No. 126, filed 12/6/19.


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           Detective: For sure?

           Karnati: Yes.

           Detective: Positive?

           Karnati: Yeah.


    Frustrated by Karnati’s ignorance, officers make the following remarks to

    Karnati:

           “I keep asking you questions and you don’t seem to know a lot about
    it.”

           “It seems to me that I know more about the school than you do.”

          “When I ask you about the University of Farmington, you are … I
    don’t know, you don’t know anything.”

    See Exhibit F (Transcript of Karnati Interrogation). Karnati’s obliviousness

    does not exculpate him from the underlying offense, but it does set him apart

    from his co-defendants. It is plain Karnati was an outlier in the underlying

    conspiracy, substantially less culpable than the rest. In his statement to the

    Probation Department, Karnati authentically explains how he came to be

    caught in the crosshairs of FU.       See Exhibit G (Karnati Statement to

    Probation).




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                    III.   History and Characteristics of Karnati

       Karnati was the only child born to a modest family in a village in

    southern India in 1983. He obtained his bachelors degree in electrical and

    electronics engineering from the prestigious Jawaharlal Nehru Technological

    University in Hyderabad.     For the last fifteen years, Karnati has been

    steadily employed in highly technical positions in the fields of information

    technology and data science, his salary and stature in this field growing with

    him. Karnati’s on-the-job achievements and certifications are plentiful. See

    Exhibit H (Work Recognition).

       Karnati married his wife in 2009 and the family had their first child in

    2010. In 2011, Karnati immigrated to the United States on an H-1B visa,

    which is a highly skilled work visa. His wife and oldest child were issued

    H-4 visas, which are issued to dependents of an H-1B visa holder. In 2016,

    the Karnati family had their second child, who is an American citizen.

       Due to the underlying offense, Karnati’s employment was terminated in

    February 2019 and he found himself unemployed for the first time in his life.

    Under enormous stress, Karnati continued to pursue his Master of Science

    degree (in Business Analytics), which he completed in August with a grade

    point average of 3.895. Upon graduation, Karnati enrolled in a doctoral

    degree program in Computer Engineering and Computer Science. He earned



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    a 4.0 in his first semester. See Exhibit I (Academic Transcripts). Karnati

    finally secured employment as a data scientist in Connecticut, and has been

    commuting between Kentucky and Connecticut for the last several months.

    On December 16, 2019 (three days after his graduation walk), the Karnati

    family sold their Kentucky home and began preparations to return to India.

       During the nine years he has lived in America, Phanideep has been an

    upstanding and valuable member of his Kentucky community. As the sole

    provider for his family of four, he still managed to send money to his parents

    in India, as well as make steady donations to charitable organizations.

    Phanideep also volunteers his time in the community, coaching children in

    Indian dance and organizing youth performances at cultural events (often

    performing with them).     See Exhibit J (Charitable Contributions).       The

    letters of support Phanideep has received in preparation for sentencing

    describe a family man who is generous and charitable, sincere, hard-

    working, and above-all, devoted to his boys. See Exhibit K (Community

    Letters). In short, here is an individual who has lived up to his potential and

    thrived on every opportunity he has been given. This is not someone who

    set out to scam the country that enabled him to succeed.

       As a father, Karnati has poured all his time and energy into his family.

    His eldest son was admitted to a magnet program in second grade, and that



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    same year earned third place in Math Kangaroo (a statewide math

    competition). Hardhi Karnati is testing in high percentiles for reading and

    math, and last semester earned four A’s and one B. He is as smart as his

    father. Although Hardhi has a black belt in taekwondo, he takes most pride

    in his chess game.      Our chess champion has collected trophies from

    tournaments all over the state.            See Exhibit L (Hardhi Karnati

    Achievements).     The youngest Karnati is just 3-years-old and has no

    comprehension of the changes ahead. Mrs. Karnati is soft-spoken, humble,

    kind, and loving. She has been a pillar of support for the family during this

    most difficult time.

               IV. Under §5H1.6, Karnati is eligible for a downward
             departure from the guidelines based on extraordinary family
                                   circumstances.

          As discussed above, Karnati’s H1-B visa is pending renewal. Mrs.

    Karnati and their eldest child have visas that are dependent on Phanideep’s

    visa status, while the little guy is an American citizen.       Since Karnati

    anticipates non-renewal of his H1-B visa, the family is prepared to depart the

    United States. If Karnati receives a custodial sentence, his family will have

    no choice but to leave the country without him. In addition to lacking his

    physical and emotional support as they return to India, the family will be

    without means in India since Karnati is the sole provider for his family.



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          Karnati’s parents reside in the Indian state of Telangana, in a village

    that has no industry, no economy, and no educational opportunities. The

    nearest city is Hyderabad, which is ten hours away. This is where the

    Karnati family must move in order for Karnati to secure employment and the

    Karnati children to be educated.

          Residents of Hyderabad are predominantly Telugu speaking.             As

    discussed above, the elder Karnati son moved to the United States when he

    was one-years-old, and his three-year-old brother was born in the United

    States. Neither child speaks Telugu. Moreover, Mrs. Karnati (although

    college educated), has been a full-time mother and housewife for the last ten

    years. She has no means to earn an income, and nobody to care for the

    children even if she could find a job as an unskilled worker in Hyderabad.4



    4
           According to the World Bank, India has among the lowest female
    labor force participants rates (LFPRs ) in the world. Less than a quarter
    (23.6%) of women aged 15 and above participated in the labor force in 2018.
    See World Bank Group, “Labor Force Participation Rate, Female (% of
    Female Population Ages 15+) (Modeled ILO Estimate), India” (September
    2019). By comparison, China has over 64% of its women in the workforce,
    and in the United States, it is over 56%. Notably, in Hyderabad itself, violent
    crimes against women have become so prevalent that last month, Telangana
    Chief Minister K Chandrashekar Rao (KCR) announced that female
    employees should not work the night shift and that their duties must end by
    8 pm. https://timesofindia.indiatimes.com/city/hyderabad/no-night-duty-
    changing-rooms-for-women-staff/articleshow/72323354.cms



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          Opportunities for the Karnati children to be educated without their

    father present are as dismal as Mrs. Karnati’s ability to seek employment.

    To begin with, public schools are taught in the mother tongue of Telugu.

    But these schools have no facilities, no teachers, and no standards. They are

    predominantly attended by the children of Hyderabad’s slum population. In

    order to maintain the primary education he began here in the United States,

    the eldest Karnati son would have to attend private school. In short, Karnati

    must seek gainful employment in India as soon as possible in order to

    support the family. There is just no way for these children to succeed

    without their father’s presence.

          Moreover, if Karnati were to receive a custodial sentence, he will

    eventually become unlawfully present in the United States. Under such

    circumstances, upon completion of his BOP sentence, Karnati would be

    transferred into custody of Department of Homeland Security (DHS) and

    held in detention. Once there, Karnati would need to wait months to see an

    immigration judge before he would be ordered removed from the United

    States. After a judge orders his removal, DHS would have to coordinate

    Karnati’s physical removal to India.        This process would remove Karnati

    from his family for a period of time that goes beyond whatever custodial

    sentence that may be contemplated by the guidelines.



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          Of course, the children will be unable to see Karnati while he is

    incarcerated or detained, as they will be back in India. In other words, the

    children will be effectively cut off from their father as they travel back and

    rebuild a life in India, guided only by a mother with no means to support this

    family. There is no way to quantify the magnitude of this hardship. See

    PSIR, Paragraphs 74-77 (“Should [Karnati] be incarcerated, this may

    cause a substantial, direct and specific loss of essential caretaking and

    essential financial support to [his] family. Unlike most families, a term of

    incarceration for [Karnati] will not only result in caretaking and financial

    losses, the family will be required to move to another country.”).

          Extraordinary family circumstances are widely accepted as a

    legitimate basis for imposing a below-guidelines sentence under §5H1.6.

    For example, in United States v. Husein, 478 F.3d 318, 335 (6th Cir. 2007),

    the Sixth Circuit affirmed the district court’s downward departure from the

    advisory guidelines range of 37 to 46 months based defendant’s family

    circumstances. Defendant and her mother provided for the financial and

    caretaking needs of defendant’s incapacitated father and her three minor

    siblings.   Judge Victoria Roberts sentenced defendant to a noncustodial

    sentence on her drug-distribution charge, telling her, “your family is going to

    benefit more by your presence than society is going to benefit from your



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    incarceration … [b]ut the sentence in no way is meant to minimize what you

    did and your participation in this crime.” Id. at 324.

          Similarly, in United States v. Alba, 933, F.2d 1117, 1122 (2d Cir.

    1991), the Second Circuit upheld a downward departure based on family

    circumstances where the defendant supported his wife, two children,

    grandmother, and defendant’s disabled father (sentencing range 41 to 51

    months reduced to six months in halfway house and two years supervised

    release).   Noting the special situation of this “close-knit family whose

    stability depends on [defendant’s] continued presence,” the sentencing court

    concluded that “incarceration in accordance with the Guidelines might well

    result in the destruction of an otherwise strong family unit.” Id.

          In every circuit, courts are routinely "reluctant to wreak extraordinary

    destruction on dependents who rely solely on the defendant for their

    upbringing." United States v. Johnson, 964 F.2d 124, 129 (2d Cir. 1992)

    (sentencing range 46 to 57 months reduced to six months home detention for

    single mother responsible for raising four young children). See, e.g., United

    States v. Munoz-Nava, 524 F.3d 1137, 1148 (10th Cir. 2008) (variance

    justified where defendant was primary taker and sole supporter of eight-

    year-old son); United States v. Pena, 930 F.2d 1486 (10th Cir. 1991)




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    (affirming downward departure where defendant supported infant and minor

    daughter with infant).

          Moreover, when a defendant presents an argument for a lower

    sentence based on extraordinary family circumstances, the relevant inquiry

    is the effect of the defendant's absence on his family members. United

    States v. Galante, 111 F.3d 1029, 1035 (2d Cir. 1997) (acknowledging it is

    families of defendants that are the intended beneficiaries of downward

    departures on the ground of extraordinary circumstances relating to family

    responsibilities); United States v. Johnson, 964 F.2d 124, 129 (2d Cir. 1992)

    ("rationale for a downward departure here is not that [the defendant's]

    family circumstances decrease her culpability, but that we are reluctant to

    wreak extraordinary destruction on dependents who rely solely on the

    defendant for their upbringing"). See United States v. Schroeder, 536 F.3d

    746 (7th Cir. 2008) (remand ordered where trial court shifted family hardship

    analysis to defendant’s culpability).

          The same family hardships that are described above exist in Karnati’s

    case. Karnati has a close-knit family whose lives will be uprooted regardless

    of what sentence the Court imposes. But separating Karnati from his young

    boys during this life-changing event for them could result in the destruction

    of an otherwise strong family unit. See, e.g., United States v. Lehmann, 513



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    F.3d 805 (8th Cir. 2008) (court imposed below-guidelines sentence because it

    concluded defendant’s child would "decompensate emotionally," and suffer

    setback in overall development if mother were removed from his life). It

    would also debilitate the family financially, as any custodial sentence would

    delay Karnati’s ability to even look for employment, let alone start working

    again.

             This bleak scenario falls squarely under the extraordinary family

    hardship envisioned under §5H1.6. It is almost unthinkable to believe the

    children have any chance of succeeding in India without their father’s

    emotional, physical, and financial support.5




    5
      Karnati prepared a video collage of his family for the Court’s review.
    https://www.youtube.com/watch?v=2xFLCrIzNEA&feature=youtu.be
    (See Exhibit M). In it, Hardhi Karnati spells the longest word in the English
    language dictionary.




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                                   V.    Conclusion

          In sum, the hardship on Karnati’s family is exceptional to a degree

    sufficient to take this case out of the heartland of cases contemplated by the

    sentencing guidelines. When measured against a short custodial sentence

    and an unknowable amount of time in a DHS detention facility, the family

    hardship in this case is both exceptional and insurmountable. Accordingly,

    Mr. Karnati respectfully requests this Court render a sentence of time served

    so that he and his family may immediately depart the country.



                                                 Respectfully Submitted,



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                           CERTIFICATE OF SERVICE

            I hereby certify that I electronically filed the foregoing paper with the
    Clerk of the Court using the ECF system that will send notification of such
    filing to all registered parties.


                                                         /s/ Anjali Prasad
                                                         Anjali Prasad (P75771)




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